                      Case:17-80103-swd             Doc #:5 Filed: 08/07/17    Page 1 of 1
Form DEFECF (10/09)
                                          United States Bankruptcy Court
                                           Western District of Michigan
                                               One Division Ave., N.
                                                     Room 200
                                              Grand Rapids, MI 49503


IN RE: Debtor (name used by the debtor in the last 8 years,
including married, maiden, trade, and address):
                                                                  Case Number 16−02499−swd
        Anthony Vincent Semler
        and Raquel Lynn Dietrich                                  Adv. Pro. No. 17−80103−swd
                                                      Debtor
        Anthony Vincent Semler                                    Chapter 13
        Raquel Lynn Dietrich
                                                                  Honorable Scott W. Dales
                                                     Plaintiff
        Consumers Energy
        Company
                                                  Defendant



                             NOTICE OF DEFECTIVE ENTRY OR FILING

NOTICE IS HEREBY GIVEN that document #: 4 is defective for the following reasons:

    Incomplete PDF Document attached to the entry.
    Entered in the wrong case.
    PDF document is not legible.
    Incorrect Form Submitted (Official forms are located on the Court's website at: www.miwb.uscourts.gov)
    Document lists the wrong Judge. Please note: Effective July 15, 2017, the Judge rotation for this
location has changed. Judge Dales is now the Judge in this case.

NOTICE IS FURTHER GIVEN that the following action must be taken:
  Document needs to be re−filed.


If you have any questions, please contact the ECF HelpDesk by emailing
ecfhelpdeskmiwb@miwb.uscourts.gov or by calling (616) 456−2693.




Dated: August 7, 2017
